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10

11                   IN THE UNITED STATES DISTRICT COURT
12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     STEVE GALLION, individually, and        Case No. 5:17-cv-01361-CAS-KK
14   on behalf of all others similarly
     situated,                               NOTICE OF SETTLEMENT
15                              Plaintiff,
                                             AS TO INDIVIDUAL CLAIMS
16         vs.                               ONLY
17   CHARTER COMMUNICATIONS
     INC., and SPECTRUM
18   MANAGEMENT HOLDING
     COMPANY, LLC,
19   Defendants.
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                                   NOTICE OF SETTLEMENT
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 1         NOW COMES THE PLAINTIFF by and through their attorney to
 2   respectfully notify this Honorable Court that this case has settled individually.
 3   Plaintiff requests that this Honorable Court vacate all pending hearing dates and
 4   allow sixty (60) days with which to file dispositive documentation. This Court shall
 5   retain jurisdiction over this matter until fully resolved.
 6

 7   Dated: June 15th, 2021            Law Offices of Todd M. Friedman, P.C.
 8
                                              By:    /s/ Todd M. Friedman
 9                                                   Todd M. Friedman, Esq.
10                                                   Adrian R. Bacon, Esq.
                                                     Attorneys for Plaintiff
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 3
                              CERTIFICATE OF SERVICE

 4   Filed electronically on this 15th Day of June, 2021, with:
 5   United States District Court CM/ECF system
 6
     Notification sent electronically on this 15th Day of June, 2021, to:
 7

 8   Honorable Judge Christina A. Snyder
     United States District Court
 9   Central District of California
10
     And All Counsel of Record on the Electronic Service List.
11
     s/Todd M. Friedman
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     Todd M. Friedman, Esq.
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                                     NOTICE OF SETTLEMENT
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